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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                               EASTERN DISTRICT OF VIRGINIA

                                         Richmond Division


UNITED STATES OF AMERICA                       )
                                               )
       v.                                      ) CRIMINAL NO. 3:09CR368
                                               )
COVEY ANDREWS                                  )


                                    MOTION FOR DISMISSAL

       COMES NOW the United States of America, by counsel, and hereby moves this

Honorable Court to dismiss without prejudice the criminal indictment in this case pursuant to

Fed. R. Crim. P. 48(a). The United States asserts that the ends of justice will be served by a

dismissal without prejudice at this time, for the reasons set forth in the response and

supplemental response of the United States to defendant’s motion for relief pursuant to 28 U.S.C.

§ 2255.

          Accordingly, for all of the above stated reasons, the United States respectfully requests

that the indictment in this case be dismissed without prejudice.

                                               Respectfully submitted,

                                               DANA J. BOENTE
                                               UNITED STATES ATTORNEY

                                        By:    ___//s//__________________________
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                                 CERTIFICATE OF SERVICE

       I hereby certify on the 1st day of April, 2015, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will then send a notification of such filing

(NEF) to Counsel of Record.


                                              ___________/s/________________
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